Case 2:03-cr-00103-JAM Document 237 Filed 06/02/05 Page 1 of 2


J. PATRICK McCARTHY
Attorney at Law, #41920
901 H Street, Suite 304
Sacramento, CA 95814
(916) 442-1932

Attorney for Hiep Lien




                           UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                      No. CR S –03-103-FCD

                           Plaintiff,
                 vs.                           ORDER

HIEP LIEN,

                          Defendant. /



IT IS HEREBY ORDERED:

              Pursuant to the stipulation entered between the parties on June 1, 2005 and

GOOD CAUSE APPEARING, the judgment and sentencing hearing in this matter is continued

To July 11, 2005 at 9:30 a.m.


Dated: June 2, 2005



                                            /s/ Frank C. Damrell Jr.
                                            FRANK C. DAMRELL, JR.
                                            U.S. DISTRICT COURT JUDGE
Case 2:03-cr-00103-JAM Document 237 Filed 06/02/05 Page 2 of 2




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